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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA           )
                                   )        CRIMINAL ACTION NO.
    v.                             )           2:12cr48-MHT
                                   )             (WO)
MICHAEL SMITH                      )

           ORDER FOR PARTIAL JURY SEQUESTRATION

    It is ORDERED that the jurors in this case shall be

partially sequestered and shall be kept in the custody of

the United States Marshals Service during the hours that

the trial is in session or as otherwise directed by the

court.

    It is further ORDERED as follows:

    (1) The United States Marshals Service shall make

         arrangements, and provide for adequate security,

         for    the   jury    in   accordance      with    the   United

         States Marshals Service Directives.

    (2) The United States Marshals Service shall make

         arrangements for the furnishing of vehicles for

         the daily transportation of jurors from a secure
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       location,      designated       by   the     United      States

       Marshal, and the United States Courthouse.

 (3)   The   assigned      United     States    Marshals       Service

       personnel shall make certain that no member of

       the jury:

       (a) Has     any    unauthorized         contact    with       any

             outside person.

       (b) Has any discussion with any outside peson

             pertaining to the case.

       (c) Has      written,        telephonic,     internet,         or

             electronic     communication         with   any    person

             except under the direct supervision of the

             assigned     United      States    Marshals       Service

             personnel or as otherwise authorized by the

             court.

       (d) Unless otherwise authorized by the court,

             any juror or jury communication with the

             court shall be made in writing and placed in

             a sealed envelope by the jury or individual



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            jurors and then turned over to the United

            States Marshals Service personnel, who shall

            properly         and      promptly      deliver          the

            communication to the court.

 (4) The United States Marshals Service shall admonish

      its personnel assigned to jury custody not to

      fraternize with any juror or jurors other than

      such as is necessary to carry out his or her

      specific duties set out herein, and specifically

      refrain from discussing his or her official duty

      in other cases.

 (5) The clerk of the court shall, pursuant to the

      provisions of 28 U.S.C. § 1871, expend sums to

      pay     for    meals     for     all   jurors     until        the

      conclusion of the trial.

 (6) The court may still order full sequestration of

      the jury.

 DONE, this the 17th day of June, 2013.

                                       /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
